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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

THE ARMY RETIREMENT
RESIDENCE FOUNDATION-

SAN ANTONIO, INC. D/B/A

ARMY RESIDENCE COMMUNITY,

Pzamnff,

VS. CASE NO. 5:17-CV-874
PHILADELPHIA INDEMNITY
INSURANCE COMPANY,
MICHAEL DEAN HARGRAVE
and CATTO & CATTO, INC. d/b/a
CATTO & CATTO, LLP d/b/a
CATTO & CATTO BENEFITS
GROUP, LLP d/b/a

CATT() & CATTO,

OMOOGCMEMDOQWDLODOMOMWJWDOOQLO?W>CMW)CMCMCM

Defendants.

DEFENDANT PHILADELPHIA INDEMNITY INSURANCE
COMPANY’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

Pursuant to 28 U.S.C. §§ 1332, 1441(b) and 1446(21), Philadelphia
Indemnity InSurance Company, a Defendant in the above-Styled caSe, files this
Notice of Removal from the District Courts Of Bexar County, TeXaS, 438th Judicial
District, to the United States District Court for the Western District of TeXaS, San
Antonio Division.

INTRODUCTION

1. Plaintiff is The Army Retirement Residence Foundation-San Antonio,

Inc. d/b/a Army Residence Community (“Plaintiff’).

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2. Philadelphia lndemnity lnsurance Company (“Philadelphia”) is one
Defendant that Plaintiff has sued in this case.

3. l\/lichael Dean Hargrave is another Defendant sued in this case.

4. Catto & Catto, lnc. d/b/a Catto & Catto, LLP d/b/a Catto & Catto
Benefits Group, LLP d/b/a Catto & Catto (“Catto”) is the third and last Defendant
Plaintiff has named in this case.

5. Plaintiff commenced this first-party insurance case on August 30,
2017. Plaintiff has asserted causes of action against arising under Texas law
against Philadelphia for allegedly breach of contract, violating the Prompt Payment
of Claims Act codified at chapter 542 of the TeXas lnsurance Code, engaging in
unfair claims settlement practices in violation of Various provisions of chapter 541
of the Texas Insurance Code, and breach of the common-law duty cf good faith and
fair dealing Plaintiff sued Michal Hargrave for allegedly violating certain
provisions of chapters 541 of the Texas Insurance Code. Plaintiff sued Catto &
Catto for the alleged breach of fiduciary duty and engaging in a purported civil
conspiracy With Philadelphia.

6. Philadelphia learned of Plaintiff s filing of this lawsuit in state court on
or about September 6, 2017. Philadelphia is therefore timely filing this Notice of
Removal, as it is removing this action “Within thirty days after receipt by the
defendant, through service or otherwise7 of a copy of an amended pleading, motion,
order or other paper from Which it may first be ascertained that the case is one

Which is or has become removable.” 28 U.S.C. § 1446(b)(3).

 

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VENUE Is PRoPER
7. Pursuant to 28 U.S.C. § 1441(a), this action may be removed to this
Court because it is the district and division embracing Bexar County, TeXas, the
county in Which the state court action is pending

BAsIs FoR REMovAL

8. This is a civil action that falls under the Court’s original jurisdiction
pursuant to 28 U.S.C. § 1332(a) and is one that may be removed to this Court based
on diversity of citizenship in accordance With 28 U.S.C. §§ 1441 and 1446.

A. Complete Diversitv of Citizenship EXists Between Plaintiff and
All Properlv Joined and Served Defendants.

9. The “forum-defendant” rule provides that a civil action may not be
removed to federal court on the basis of diversity of citizenship jurisdiction “if any of
the parties in interest properly joined and served as defendants'is a citizen of the
State in Which such action is brought.” 28 U.S.C. § 1441(b)(2) (emphasis added).
Thus, as Will be shown beloW, although one of the Defendants‘ is an individual
residing in TeXas and another is a TeXas corporation7 neither has been served in
this case.

10. Plaintiff is a not-for-profit District of Columbia corporation With its
principal place of business in TeXas. See Plaintiffs Application for Certificate of
Authority to Conduct Affairs in TeXas and Plaintiffs Assumed Name Certificate
(attached as EXhibit 1); see also Pl.’s Orig. Pet. §lll, at 2 (included as a part of

Exhibit 5).

 

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11. Philadelphia is a corporation organized and existing under the laws of
the State of Pennsylvania. See Affidavit of Eugene Angiolillo, attached as Exhibit 2
(attesting to the facts that Philadelphia is incorporated in and maintains its
principal place of business in Pennsylvania). See id.

12. l\/lichael Hargrave is an individual residing in TeXas. See Pl.’s Orig.
Pet. at 2. Plaintiff has not obtained service of process upon Michael Hargrave. See
Hargrave Affidavit 11 3 (EXhibit 3).

13. Catto & Catto is a TeXas corporation with its principal place of
business in TeXas. Pl.’s Orig. Pet. §lll, at 3. Plaintiff has not obtained service of
process upon Catto. See Catto Affidavit 11 3 (EXhibit 4).

14. A majority of the federal courts considering “snap removal,” as
Philadelphia seeks here, have held that 28 U.S.C. § 1441(b)(2) permit removal as
long as no in-state defendant has been served. The majority of those courts have
held that a non-forum defendant -- Philadelphia, in this case _ can remove prior to
service of any in-state defendant See, e.g., Regal Stone Ltd. u. Longs Drug Stores
Cal., L.L.C., 881 F. Supp. 2d 1123, 1128-29 (N.D. Cal. 2012); In re Diet Drugs Prods.
Liab. Litig., 875 F. Supp. 2d 474, 477 (E.D. Pa. 2012); Carrs v. AVCO Corp., Civil
No. 3:11-CV-3423-L, 2012 WL 1945629, at *2 (N.D. Tex. l\/[ay 30, 2012); Watanabe U.
Lcmkford, 684 F. Supp. 2d 1210, 1219 (D. Haw. 2010); North v. Precision Airmotive
Corp., 600 F. Supp. 2d 1268, 1270 (M.D. Fla. 2009).

15. Most courts following this majority approach permitted removal

without consideration of whether the defendant removing the case had been served

 

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at the time of removal See, e.g., Poznanovich u. AstraZeneca Pharms. LP, Civ. No.
3:11-cv-04001, 2011 WL 6180026, at *4 (D.N.J. Dec. 12, 2011) (“The Court finds that
the language of the statute is plain, and, thus, adherence to the plain language is
required.”); Robertson v Iuliano, No. RDB-10-1319, 2011 WL 453618, at *2 (D. Md.
Feb. 4, 2011) (“The majority of courts that have interpreted section 1441(b) apply
the plain language of the statute to allow removal when none of the forum
defendants have been served. . . . In this case, applying the plain meaning rule does
not lead to absurdity or an outcome at odds with congressional intent.”) (citations
omitted); Boyer u. Wyeth Pharms., Inc., No. 12739, 2012 WL 1449246, at *2-3 (E.D.
Pa. Apr. 26, 2012) (“The pre-service removal of this action by a non-forum
defendant where the forum defendant had not been served prior to removal was
proper under the unambiguous language of §1441(b).”); Hutchins U. Bayer Corp.,
No. 08-640, 2009 WL 192468, at *6 & *11 (D. Del. Jan. 237 2009) (denying motion to
remand upon finding that “[t]he language of § 1441 (b) is plain and unambiguous”).
These courts found there is simply no statutory requirement that the removing
defendant must first have been served with the complaint
B. The Amount in Controversv Exceeds $75,000.

16. Plaintiff seeks damages in excess of $1,000,000.00. Pl.’s Orig. Pet. § IV,
at 3.

17. Plaintiff therefore seeks damages, exclusive of interest and attorney’s

fees, in excess of the jurisdictional minimum of $75,000.

 

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C. Removal Is Appropriate Under the Court’s Diversitv Jurisdiction.

18. ln light of these facts, the state court claim may be removed to this
Court because: (i) this action is a civil action pending within the jurisdiction of the
United States District Court for the Western District of Texas; (ii) none “of the
parties in interest properly joined and served as defendants is a citizen of the State
in which such action is brought”, 28 U.S.C. § 1441(b)(2); and (iii) the amount in
controversy exceeds $75,000, exclusive of interests and costs.

FILING OF REMOVAL PAPERS

19. Pursuant to 28 U.S.C. §1446(d), Philadelphia is providing written
notice of the filing of this Notice of Removal to all other counsel of record. Further,
Philadelphia is filing a copy of this Notice of Removal with the Clerk of the 438th
Judicial District Court of Bexar County, Texas, where Plaintiff commenced this
action.

20. Philadelphia is filing the following items concurrently with this Notice
of Removal, or attaching them to this Notice of Removal as required by Western
District of Texas Local Rule 81.1: (a) completed version of JS-44 Civil Cover Sheet
(Exhibit 5); (b) an index of all documents that identifies each document and
indicates the date the document was filed in state court, and copies of each such
document (Exhibit 6); (c) any executed process in the case (none),' (d) a copy of the
docket sheet in the state court action (Exhibit 7); and (e) a list of all counsel of

record (Exhibit 8).

 

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OTHER REMOVAL MATTERS
21. The other Defendants sued in this cause, Hargrave and Catto & Catto,
consent to the removal of this action. 28 U.S.C. § 1446(a). See Ex. 3, il 4; Ex. 4, ‘H 4.
QW
22. Philadelphia gives notice to the Court of its removal of the above-
captioned action from the 438th J udicial District Court of Bexar County, Texas, and
request that further proceedings be conducted in the United States District Court

for the Western District of Texas, San Antonio Division, as provided by law.

Dated: September 8, 2017

Respectfully submitted,

/s/ William R. Pilat
William R. Pilat
Texas Bar No. 00788205
Admitted in Western District of Texas
KANE RUSSELL COLEMAN LOGAN PC
5051 Westheimer Road, Suite 1000
Houston, Texas 77056
Telephone: 713-425-7400
Facsimile: 713-425-7700
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ATToRNEY-IN-CHARGE FoR DEFENDANT
PHILADELPHIA INDEMNITY INsURANCE
CoMPANY

OF CoUNsEL:

 

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Andrew J. Mihalick

Texas Bar No. 24046439

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Facsimile: 713-425-7700

Email: amihalick@krcl.com

CERTIFICATE OF SERVICE

I certify that on September 8, 2017 , a true and correct copy of the foregoing
Notice of Removal was forwarded to all other counsel of record, as listed below,

through the electronic case filing system of the United States District Court for the
Western District of TeXas:

Marc E. Gravely

Jonathan C. Lisenby
GRAVELY & PEARsoN, L.L.P.
425 Soledad, Suite 600

San Antonio, Texas 78205

/s/ William R. Pilat
William R. Pilat

 

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